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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

DIANA L. FERNANDEZ,

       Plaintiff,

               v.
                                                             Case No.: 1:19-CV-00297-RB-KK
HARTFORD LIFE AND ACCIDENT
INSURANCE COMPANY,

       Defendant.

             STIPULATION OF EXTENSION OF TIME FOR DEFENDANT
                 TO FILE AN INDEXED AND NUMBERED COPY OF
                          ADMINISTRATIVE RECORD

       Defendant Hartford Life and Accident Insurance Company (“Hartford”), and Plaintiff

Diana Fernandez hereby stipulation to a one week extension of time for Hartford to file under

seal an indexed and numbered copy of the Administrative Record in this matter with the Court.

In support of this consented to Motion, Hartford shows the Court as follows:

       1. Plaintiff filed the Complaint in this action in the 8th Judicial District Court, Taos

           County on February 26, 2019.

       2. Plaintiff served Hartford with the Complaint and Summons through CT Corporation

           System, Espanola, New Mexico on or about March 4, 2019.

       3. Hartford timely removed this action on April 1, 2019. (Doc. #1.)

       4. Plaintiff and Hartford filed a Joint Status Report and Provisional Case Management

           Plan with the Court on May 3, 2019. (Doc. #8.)

       5. Hartford filed an Answer to the Complaint on May 8, 2019. (Doc. #9.)
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       6. The Court entered its Order Setting Briefing Schedule on May 13, 2019, providing

           that Hartford file under seal an indexed and numbered copy of the Administrative

           Record in this matter by Friday, June 14, 2019. (Doc. 11.)

       7. The parties are actively participating in settlement negotiations and Hartford’s

           counsel has been working with Hartford toward such settlement negotiations.

       8. Hartford’s counsel’s workload on this and other matters has caused the need for a one

           week extension of the June 14, 2019 deadline for filing of the Administrative Record.

       9. Plaintiff’s counsel stipulates to this one week extension of the June 14, 2019 deadline

           for filing of the Administrative Record.

       10. The parties will not be prejudiced by the one week extension of the June 14, 2019

           deadline for filing of the Administrative Record.

       11. The extension of the June 14, 2019 deadline for filing of the Administrative Record

           will affect the briefing deadlines otherwise set by the Court.

       WHEREFORE Hartford respectfully requests that the Court allow this Stipulation of

Extension of Time for Defendant Hartford to file under seal and indexed and numbered copy of

the Administrative Record in this matter, up to and including June 21, 2019.

       RESPECTFULLY SUBMITTED this 14th day of June, 2019.

By: s/Donald D. Vigil                           By: s/ Kristina N. Holmstrom
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                                CERTIFICATE OF SERVICE

       The undersigned attorney for Hartford Life and Accident Insurance certifies that on this

day the foregoing was filed with the Clerk of Court using the CM/ECF system which will

provide notification of such filing upon counsel for Plaintiff in this action via the CM/ECF

system and addressed as follows:

                              Donald D. Vigil
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                              donvigil@donalddvigil.com

                              Attorney for Plaintiff


       This is the 14th day of June, 2019.


                                             OGLETREE, DEAKINS, NASH, SMOAK &
                                             STEWART, P.C.

                                             By: s/ Kristina N. Holmstrom
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                                                    Attorneys for Defendant Hartford Life and
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